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 8
 9
                               UNITED STATES DISTRICT COURT
10
11                            EASTERN DISTRICT OF CALIFORNIA

12                                               )
     UNITED STATES OF AMERICA,                   )   Case No. 2:12-CR-294-TLN
13                                               )
14                       Plaintiff,              )   STIPULATION AND ORDER SETTING
                                                 )   BART VOLEN’S SENTENCING FOR
15         v.                                    )   AUGUST 4, 2016
                                                 )
16   BART VOLEN, et al.,                         )
17                                               )
                         Defendant.              )
18                                               )
                                                 )
19                                               )
20
           On June 12, 2014 Defendant Bart Volen pleaded guilty to three counts of the
21
     superseding indictment in the above-referenced case: 18 U.S.C. § 1349 (Conspiracy to
22
23   Commit Mail and Wire Fraud); 18 U.S.C. § 1956(h) (Conspiracy to Launder Monetary

24   Instruments); and 26 U.S.C. § 7206(a) (Making and Subscribing to a False Tax
25
     Return). A status conference to set Mr. Volen’s sentencing hearing is scheduled for
26
     April 28, 2016. The parties agree that Mr. Volen’s case is ready to proceed to
27
28   sentencing.




     STIPULATION AND ORDER SETTING BART VOLEN’S SENTENCING FOR AUGUST 4, 2016 - 1
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 1         Accordingly, the parties stipulate that Mr. Volen’s sentencing be set for August 4,
 2   2016 at 9:30 a.m. and the April 28, 2016 status conference be vacated.
 3
           IT IS SO STIPULATED.
 4
        DATED: April 4, 2016                         /s/ Michael Beckwith
 5
                                                     Assistant U.S. Attorney
 6                                                   U.S. Attorney’s Office

 7      DATED: April 4, 2016                         /s/ Laurel Headley
                                                     Arguedas, Cassman & Headley
 8
                                                     Attorneys for Defendant Bart Volen
 9
10                                             ORDER
11
           For the reasons stated above, the Court finds there is good cause to vacate the
12
     April 28, 2016 status conference and set this matter for sentencing on August 4, 2016 at
13
14   9:30 a.m.

15      IT IS SO ORDERED.
16   DATED: April 5, 2016
17                                                     Troy L. Nunley
                                                       United States District Judge
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     STIPULATION AND ORDER SETTING BART VOLEN’S SENTENCING FOR AUGUST 4, 2016 - 2
